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Case 2:09-cv-02001-SHI\/|-cgc Docu.".“.e.".L 1

 

 

IN THE CIRCUIT COURT OF TENNESSEE 1 _ ‘~ ' '
FOR THIRTHIETH JUDICIAL DiSTRICT AT MEMPiiis
//<gt,_'g id
R.T. WYNNE il ‘ ._ (3{/-*\
Beneficiary of Life insurance of . .. _‘_ . s_;,_‘.._.,_.;:_ ` """ ` °` . .
JOYCE M. WYNNE, Deceased - _/ 52 y "
PLAINTIFF . __ ,` , " 5 ‘
vs. ' ' NQ\ C \' 605 g
*""-_… .7 -\ ` ;“'“‘ 'L/ f
STONEBRIDGE INSURANCE COMPAN , INC. JO ' ,'/
DEFENDANT

 

 

 

 

 

 

 

 

 

 

 

COMPLAINT FOR DAM.AGES FOR BREACH OF CONTRACT AND BAD FAITH DENIAL

 

 

 

 

 

 

 

 

 

 

 

 

 

Comes now the Plaintiff and would state to the Couit as follows:

l. Prior to J. M. Wynne’s death he was duly covered and a policy was duly issued to him,
under insurance policy numbers 74L4073800, 74L6171304, 74A6938518, 74AY993014.

2. The policy provided that if he should die from accidental means as defined in the policy, as
“cleath which results from accidental bodily directly and independently of all other causes,”
defendant would pay to the beneficiary under the policy accidental death benefits

3. On the 23 rd day oi`November, 2002, above said policy was in full force and effect, when
Joyce M. Wynne died from accidental and unnatural injuries of unknown origins; the death of
Joyce M. Wynne Was definitely from “irijui'ies from accidental bodily injuries received While
insured under this policy,” as defined in the defendant’s policy, as seen in the hereto attached

photos as an Exhibit.

4. The beneficiary under the aforementioned policy is R. T. Wynne, sole beneficiary of the

estate of J.M. Wynne, the Plaintiff herein.

5. Plaintift` has complied with all conditions imposed by the policy, including notifying the

defendant shortly after his death on the 23rd day of Noveniber, 2002.

 

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6. Notwithstanding being given notice of injuries and Suspicious nature thereof and a demand
therefore of the accidental benefits, the Defendant, after reviewing the death certificate as issued
by the physician for the residence of the deceased and the Police report of the injuries, declined
and refused to pay these to the plaintiff

WHEREFORE, Premises considered, plaintiff prays for:

l. Judgment against the defendant in the sum of Five Hundred Thousand dollars, for
compensatory and punitive damages for bad faith denial, plus pre judgment and post judgment
interest and costs and an award of attomey fees if appropriate

2. That the Court order that this filing be placed under seal so as not to violate any
confidentiality requirements as agreed to by the Plaintiff in the case against the residence of the
deceased at the time of his death and for such other and further relief as it deems necessary and
proper in the circumstances

Respectfully submitted,

 

 

Beth Brooks # 9139
Attomey for Plaintiff

2299 Union Ave.

Memphis, TN 3 8104
901~726-011 l
beth.brooks@mbbrooks.com

 

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Si}'\[\'rrl-p 41."51“‘*.'"\-
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RS,OA“;);\HS_AVE FOR THE TH|RT|ETH JUDlClAL DlSTRlCT ATZMHM€J?§ p&§gg£gfm 38103
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PLAlNTlFF Business Address

§jlww§'w`#(§¢/ Li"Fr»J/i§. (b.

Home Address

 

 

DEFENDANT Business Address

TO THE DEFENDANT(S); S"i*-‘/€er/L¢§,¢,
swore wet-if ideas Wlewn,
plead T)C 7507 S' »GFWD

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the

Court and serving a copy of your answer to the Complaint on seth annum _

Plaintiff’s attorney, whose address is
within THlRTY (30) DAYS after this summons has been served uporé)§h%

 

    
   

the day of service lf you

fai.'t 3 do so a judgment by default may be taken against you for the r p is 38me Complaint.
KENNY ARMSTRONG, CLERK & MASTER JlMMY MOORE, Clefk
BY .o_ c. BY § `UA ,D. c.

 

 

a
TEero Ano issued /i »- 3~‘\ , 20 3

 

TO THE DEFENDANT(S):

NOT|CE: Pursuanl to Chapter 919 of the Public Acls of 1980 you are hereby given the following notice:

Tennessee law provides a four thousand ($4.000.00) personal property exemption from execution or seizure to satisfy a judgment if a
judgment should be entered against you in this action and you wish to claim property as exemptl you must file a written list, under oath. of the
items you wish to claim as exempt with the Clerk of Court. The list may be filed at any time and may be changed by you thereafter as
necessary; however. unless it is filled before the judgment becomes fina|. it will not become effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed. These include; items of
necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to contain such appare|, family
portraits. the family Bib|e, and school books Shou|d any of these items be seized, you would have the right to recover them, lf you do not
understand your exemption right or how to exercise it. you may wish to seek the counsel of a iawyer.

COST BOND

l hereby acknowledge and bind myself for the prosecution of this action and payment of all costs not to exceed $500.00 in this
court which may at any time be adjudged against the plaintiff in the event the said plaintiff shall not pay the same

Witness le Hand this ______ Day of , 20

Certification when applicable

 

l. J' -.'nmy Moore, Clerk of the Circuit Court, Shelby County,
Tennessee, certify th f to age a true a d accurate copy as Sul'ety
filed this )' .

JiMMY MooRE. _
ay: W“ D. c.

 

 

 

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RETURN ON SERVICE OF SUMMONS

l HEREBY CERT|FY THAT l HAVE SERV|CE THE WlTHlN SUMMONS:

By delivering on the day of , 20 ___ at M. a copy of the summons
and a copy of the Complaint to the following defendants

 

 

Mark Luttrell, Sheriff

W
Deputy Sheriff
PR|VATE PROCESS SERVER

| HEREBV CERT|FY THAT l HAVE SERV|CE THE WITH|N SUMMONS:

By delivering on the day of , 20 ___ at M. a copy of the summons
and a copy of the Complaint to the following defendants

 

(PLEASE PRiNT THE FOLLOWING)

 

 

 

 

 

Address
: Private Process Server
Phone
Company
Other manner of service: Signature

 

 

 

l hereby certify that l have NOT served this Summons on the within named defendant(s)

l because is (are) not to be found in this County after
` diligent search and inquiry for the following reasons:

This day of , 20

 

 

Mark Luttre|l, Sheriff

W

 

Deputy Sheriff

 

 

 

 

 

 

 

 

 

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